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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

JULIA BONNEWITZ,                                      §
                                                      §
         Plaintiff,                                   §
                                                      §
v.                                                    §                  Case No. 6:21-cv-00491
                                                      §
BAYLOR UNIVERSITY, BRIAN                              §
BOLAND, AND MICHAEL WOODSON,                          §
                                                      §
         Defendants.                                  §

                                   NOTICE TO THE COURT

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW Baylor University and Michael Woodson and submits this Notice to the

Court.

         In light of the motions to dismiss pending in this matter and the fact that the counsel for

Plaintiff who has been primarily responsible for this matter is leaving her law firm on November

18, 2022 and withdrawing from representing Plaintiff, the Parties have agreed to extend the

deadline to hold a case management conference required by Federal Rule of Civil Procedure

26(f) to January 10, 2023. The Parties have also agreed to prepare and file the Rule 26(f) report

no later than 14 days after the Rule 26(f) conference, to serve initial disclosures within 14 days

of the Rule 26(f) conference, and not to conduct other discovery until after the Rule 26(f)

conference.

         Nothing about this agreement is intended to bar or constitute a waiver of any Defendant’s

ability to file a motion to stay discovery pending the Court’s ruling on the various currently

pending motions to dismiss nor Plaintiff’s ability to oppose any such motions.
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                                           Respectfully submitted,

                                           BEARD KULTGEN BROPHY BOSTWICK &
                                           DICKSON, PLLC


                                           By: ___________________________
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                                            ATTORNEYS FOR DEFENDANTS BAYLOR
                                            UNIVERSITY AND MICHAEL WOODSON

                               CERTIFICATE OF SERVICE

       I hereby certify that on the 18th day of November, 2022, Defendants Baylor University’s
and Michael Woodson’s Notice to the Court was electronically filed with the Clerk of Court
using the Court’s ECF System, which will automatically send notification of such filing to all
counsel of record, including counsel for Plaintiff:

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                                   _________________________________
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